        Case 1:13-cv-00481-EJL-REB Document 1 Filed 11/07/13 Page 1 of 13




Jans W. Coihorn
NEAL COLBORN PLLC
Mountain View Professional Building
2309 N. Mountain View Dr., Ste. 160
P.O. Box 1926
Boise, Idaho 83701
Telephone: (208) 343-59 3 1
Facsimi  .  (208) 343-5807
I 1S13# 64941
Attorney for the Plaintiff

               UNITED STATES I)ISTRICT COURT FOR ThE DISTRiCT OF IDAHO

 BERNARD L. MORGAN and MARILYN                      )
 L. MORGAN, husband and wife,                       ) Case No.
                                                    )
                            Piaintifi,              ) VERiFIED COMPLAINT
                                                    )
 v.                                                 )
                                                    )
 FAIRWAY NINE II CONDOMINIUM                        )
 ASSOCIATION, INC., an Idaho                        )
 corporation; PIONEER WEST PROPERTY                 )
 MANAGEMENT LLC’, an Idaho lfrnited                 )
 Liability company; and DO ES 1-10,                 )

                            Defendants.             )



        COME NOW TIlE PLAiNTIFFS, BERNARD L. MORGAN and MARILYN L.

MORGAN, by and through their attorneys, James W. Colborn and NEAL COLBORN PLLC, and

complain and allege as tbllows:

                                           NATURE OF THE ACTION

                  This is an action brought by the above Plaintill [br declaratory judgment, permanent

injunctive   relief and damages on the Ibilowing bases:

        a.         Federal Fair I-lousing Amendments Act of 1988, 42 U.S.C. §3601 et seq. (hereinafter


VERIFIED COMPLAiNT I             -
         Case 1:13-cv-00481-EJL-REB Document 1 Filed 11/07/13 Page 2 of 13




“FHA”), and in particular:

                i.       42 U.S.C. §3604(I)(3)(A) olthe FIIA;

                ii.      42 U.S.C. §3604(f)(3)(A) of the FHA;

                iii.     42 U.S.C. §3617 ol’the FIJA.

         b.      Fair Housing Regulations, 24 C.F’.R.   § 100 et seq.
         c.     Negligence.

                                         JURISDICTiON AND VENUE

         2.     This Court has jurisdiction over this action pursuant to 28 U.S.C. 1331 and 42 U.S.C.

36 13.   Venue is proper in the Court pursuant to 28 U.S.C. §1391(b) because the I)eferidants are

corporations organized under the laws of; and doing business in, the stale of Idaho and the events giving

rise to this action occurred in Idaho.

                                                    PARTIES

         3,      The Piaintifli are the owners and residents of a condominium located in Fairway 9

Condominiums, Phase IV, Sun Valley, Blame County, Idaho.

         4.      E)efèndant Fairway Nine IL Condominii.un Association, Inc. is a homeowners’

association incorporated under the laws of; and doing business in, the state of’Idaho.

         5.      Deléndant PioneerWest Property Management LLC is a limited liability company

organized under the laws of; and doing business in, the state of Idaho. Its principal place of business is

kcaied in Blame County, idaho.

         6.      The identities of the Defendants DOES 1- 10        are   unknown at this time and may he

individuals who are agents, employees, members, servants, successors in interest or assigns of the

named Defendants herein. PIaintifl allege that each oithe Defendants designated as De[Cndants DOES



VERIFIED COM PLAINT -2
          Case 1:13-cv-00481-EJL-REB Document 1 Filed 11/07/13 Page 3 of 13




 -   1 0 are in some way responsible for the damages alleged herein and, ftirther, that the acts audlor

omissions of said names Defendants may be attributed to I)efèndants DOES 1 10 and vice versa.

Plaintifl request leave of court to amend tins Complaint to name DOES 1- 10 whei their identities

become known.

                                              GENERAL ALLEGATIONS

          7.          The Plaintifl realleges each and eveiy allegation contained in paragraphs I through 6 as

if fOlly set    fOrth herein

          8.          Defendant Fairway Nine 11 Condominium Association, Inc. (the “Association”) is an

Idaho non-profit corporation incorporated March 2, 1992, as the successor to Fairway 9

Condominiums Phase IV Association, Inc., an Idaho non-profit corporation fonned on October 27,

1 981.         The Association is the owners’ association for Fairway 9 Condominiums, Phase IV, a

subdivision which contains 28 residences and contains the residence owned by Plaintifl known as 4408

Fairway Nine II (the “Subject Property”), the real property that is the subject of this proceeding. The

Association is responsible (Or contracting with an association manager and (Or enfOrcing the Declaration

of Covenants, Conditions & Restrictions (Or Fairway 9 Condominiums, Phase IV.                    The Subject

Property is a “dwelling”, as that term is defined at 42 U.S.C. §3602(b) and is therefOre subject to the

requirements of the FHA.

           9.         The Condominium Declaration (Or Fairway 9 Condominiums, Phase IV was originally

executed and recorded as Instrument No. 301343 in the records of l3laine Cotuity, idaho; this

document, and as subsequently amended (coflectively, the “Declaration”), contains the Covenants,

Conditions & Restrictions applicable to residences within Fairway Nine ii in general and ihe Subject

Property in particular. The Declaration, along with the Articles of Incorporation of Fairway Nine II



VERIFIED COMPLAINT- 3
         Case 1:13-cv-00481-EJL-REB Document 1 Filed 11/07/13 Page 4 of 13




(‘ondoininiurn Association, Inc. (hereinafter, the “Articles”) and the Bylaws of Iairway Nine II

Condominium Association, Inc. (hereinafter, the “Bylaws”) and the            laWS   of the state of idaho govern the

affairs of the Association.

          10.         On August 30, 1991, P1aintil1 purchased the Subject Property.

          ii          Subsequent to the purchase of the Subject Property, Plainiiffi suflèred medical issues

which have caused disabilities.

          12.         Plainti1l’ disabilities make it necessary that they have cool, filtered air in a climate

controlled environment i.e. air-conditioning in their condominium in order to have full enjoyment and use

of their condominium.

          13.         On or about August 19, 2013, Plaintifl requested from the Association, by and through

its Board of Directors, that they be allowed to install a refrigerated air-conditioning unit to provide the

Subject Property with the cool, filtered air in a climate controlled environment required as a result of

their disabilities.      PIaintifi, who are grandparents, also advised the Board that a further concern and

need for such a refrigerated air-conditioning unit was the respiratory disabilities of several of their

grandchildren who would otherwise be unable to safely come to vacation with Plaintifi at the Subject

Property.

         14.          Pursuant to the Declaration, outside installations, including refligeraled air conditioning

units, require the pemiission of the Board of Directors of the Association (hereinafter, the “Board”).

However, at least one refrigerated air conditioning unit was allowed to exist by the Board in order to

service the unit of an owner with a disability. This unit, believed to have been installed by the original

devek)per, remained for over Iwenty years until          it   was removed by the owner of the unit it served in

Summer of 201 3. Upon intOnuation and belief; no action was taken by the Board                  -   including but not



VERIF1[D COMPLAINT- 4
        Case 1:13-cv-00481-EJL-REB Document 1 Filed 11/07/13 Page 5 of 13




limited to the imposition of fines   -   was ever taken by the Board to cause the recent removal by the

owners’ of said unit.

        15.     The Board has also previously permitted iastallation of water—cooled air conditioning

units in the common area crawl spaces underneath individual condominium units. liowever, as of June

16, 2013, the Sun Valley Water and Sewer District (hereinafter, the “Sewer District”) imposed a six

month irioratorium on the installation ol water-cooled air conditioners within its jurisdiction. Fairway

Nine Condominiums, Phase IV are located within its jurisdiction. As a result, since June 16, 2013, the

only air-conditioning option available to owners within the Association is installation oC a refrigerated

air-conditiomng unit. In July, 2013, the Board notified all owners in the Association via letter that it

would not be entertaining any air-conditioning requests during the Sewer District’s moratorium

         16.     Throughout August, 2013, Plaintiffs made repeated inquiries to the Association

requesting that the Board approve their request to allow installation of a refrigerated air-conditioning unit

at the Subject Property, however, these requests were iored.

         [7.     During the summer of 2013, there was record breaking heat and continual smoke from

nunerous forest fires in the Sun Valley area, exacerbating the conditions tor which Plaintifl’ had made

their request for the Board to allow installation of a refrigerated air-conditioning unit at the Subject

Property, further reducing the ability of Plaintills to enjoy the Subject Property andJor fOr the Plaintifli’

grandchildren with disabilities Ibm      visiting   them at the Subject Properly.

         1 8.    As a result of the Board’s complete refusal to address their issues and requests, on

August 21, 2013, Plnintills had a refrigerated air—conditioning unit installed to provide them with the

cool, dry air in a controlled environment that thcy required as a result of their disabilities.

         19.     ()n August 21, 2013, the Association, by and through its chosen management company,



VERIFIED COMPLAINT-S
        Case 1:13-cv-00481-EJL-REB Document 1 Filed 11/07/13 Page 6 of 13




PioneerWest Property Management LIX (hereinafter, the “Association Manager”), notified PIaintifl by

Letter that they were in wilifid violation of the I)eclaraiion as they had not obtained Board approval for

the refrigerated air-conditioning unit, that they were being fined, and that an injunction would be filed to

remove the refrigerated air-conditioning unit Wit were not removed within three (lays.

         20.     On August 28, 2013, the I3oard litlsely stated to all owners in the Association via letter

that the Plaintiu1 had “installed their air conditioner without notice or application to Fairway Nine 11..    .




The Board further flulsely stated that “[alt no point has there been a request from the Morgans to meet

with the Board.” The Board advised in its letter that it had lined the Plaintiff $250 for the    violation   and

was continuing to impose lines of$ 100/day on the Plathtif1 “until the situation is resolved.”

         21.     On September 3, 2013, an appeal hearing of the Board’s decision to impose fines on

the Plaintith fOr installation of the refrigerated air-conditioning unit was held.         Via letter dated

September 6, 201 3, the Board unanimously denied the Plainiifl’ appeal, with the caveat that the fines

would he suspended from September 3, 2013 if the refrigerated air-conditioning unit was removed by

the time the Plaintiffi left fOr the summer season or October 1, 2013, whichever came first. lithe

refiigerated air-conditioning unit was not removed by that date, the fines accrued during the suspension

would he retroactively reinstated. In its September 6, 201 3 letter, the Board acknowledged that “[wje

understand your issues,” but look no steps to address Plaintifl’ reasonable modification request.

        22.      On September 8, 20 1 3, Plaintill notified the Board that since the critical problems that

exacerbated their disabilities had lm)stly dissipated until Spring, that Plaintifii would remove the

refrigerated air-conditioning unit by October I, 201 3 if all fees, lines and the like which had been levied

against them as a result of its installation were reirnved.

        23.      On September 12, 2013, the Board, by and through the Association Manager, rejected



7
I RIFIfl) COM PLAINT -6
        Case 1:13-cv-00481-EJL-REB Document 1 Filed 11/07/13 Page 7 of 13




Plaintiffi’ request to install an air cooLed (refrigerated) air conditioner on the grounds that the Sewer

District had   impoSed   a moratorium on the installation of waler cooled air conditioners, that water cooled

air conditioners were the only type of air collditk)ner approved for installation within Fairway 9

Condominiums, Phase IV, and that all requests for air conditioners would be delayed until alter the

moratorium process on water cooled air conditioner installation was concluded.

        24,       On September 16, 201 3, the Board, by and through its Association Manager, rejected

the Plaintjfl oflèr made in their September 8, 2013 letter. Instead, the Board offered to rescind the

incurred fines if the Plaintifi paid $3,000 in alleged out-of pocket Legal and administrative expenses,

removed all conponents of the refrigerated air-conditioning unit (including compressor, concrete pad

and cooling pipes, all external electrical components) and restored the landscaping to previous condition

by October 1, 2013.          Further, the Board would require that the Plaintiff sign a hold harmless

agreement agreeing to hold the Association and Board harmless in this situation, anti to adhere to [IOA

rules and Board decisions as they relate to air conditioning systems and installation. The Board did

note, however, that “blur board continues to be sensitive to your needs,” yet took no steps to address

Plaintif’ reasonable mod ification request.

        25. On October 4, 2013 Plaintifl, by letter from their counsel to the Board, reiterated their

request for a reasonable nxdification to allow the refrigerated air conditioning tuit at the Subject

Premises.      Plainti1l further requested that a reasonable accommodation he granted removing and

permanently suspending fines from being imposed on them by the Board related to the refrigerated air

conditioning unit. This request was not granted or responded to by the Board of’Dii’ectors.

        26.       On October 16, 201 3, the PlaintifI again requested that the Board grant their

i-easonable modification request allowing the refrigerated air conditioning unit fOr their condominium.



VIRIFLED COM PLAINT -7
         Case 1:13-cv-00481-EJL-REB Document 1 Filed 11/07/13 Page 8 of 13




This request was not responded to by the Board.

        27.         On October 25, 2013, the Board, by letter sent from its Association Manager,

requested that the PIaintifl remove the refrigerated air conditioning unit and advised that it would pass

through to Plaintifl lines levied from the Master Association to the Association starting November 15,

2013 if the air conditioning unit was not removed.

         2.         To date, [lie Board has tailed and/or reftised to grant or even address Plainti1’

reasonable modificati)n andlor reasonable accommodation requests, either directly or through its

Association Manager.

                                           FIRST CAUSE OF ACTION

                           Violation of 42 US. C. §‘3604(f)(3)t’A) of the Fair housing Act

         29.        Plaintifll reallege each and every allegation contained in paragraphs I through 2 as if

fully set forth herein.

         30.        In violation of 42 U.S.C. §3604((3)(A) of the FHA, Defendants have refused to

permit a reasonable modification of the Subject Property by the Plaintifl by refusing to approve the

installation of a refrigerated air conditioning unit to service the Subject Property and by insisting that

Plaintifl remove the refrigerated air conditioning unit which they installed or face heavy, daily fines to he

imposed by the Board.

                                          SECOND CAUSE OF ACTION

                           Violation o/42 U.S.C. ‘36O4’/)(3)’A) of/he Fair housing Act

         3 I.   Plahitil1 reallege each and evely allegation contained in paragraphs I through 30 as ii tially

set forth herein.

         32.        In violation o142 U.S.C. §3604(f)(3)(A) of the Fl IA, DelCndants have fitiled to make




VERIFIED COMPLAINT- 8
          Case 1:13-cv-00481-EJL-REB Document 1 Filed 11/07/13 Page 9 of 13




reasonable accommodations for the Plaintilhi by refOsing to allow Plaintitl’ installation of a refiigerated

air   conditioning   unit   and by refusing to waive fines fOr violation   of the   Declaration related to Plaintill’

installation of their refrigerated air conditioning unit.

                                               THIRD CAUSE OF ACTION

                                  Violation of 42 U.S.C. 36]7 o/the Fair housing Act

          33.        Plaintifl reallege each and every allegation contained in paragraphs I through 32 as if

frilly set forth herein.

          34.        In violation of 42 U.S.C. §3617, Defendants have interlCred with Plaintill exercise or

enjoyment of their rights under 42 U.S.C. §3604.

                                              FOURTh CAUSE OF ACTION

                                                         Negligence

          35.        Plaintiffs reallege each and every allegation contained in paragraphs I through 34 as if

fOlly set forth herein.

          36.        Defendants owed a duty of care to use reasonable care to avoid injury and to prevent

unreasonable, forseeable risks of harm to Plaintiff;.

          37.        It could have been reasonably anticipated or fOreseen by the I)efendants that their

failure to use reasonable care might result in injury to the Plaintifl.

          38,        Defendants were negligent in that they failed to use reasonable care to avoid injiuy and

to prevent unreasonable, forseeable risks of harm to Plaintifi by thuling to obtain adequate training with

regards to the Fl-IA as well as its implementing regulations provided at 24 C.F.R. §I0() et seq and by

thiling to adequately train and supervise Deléndants’ agents andlor employees with regards to the FHA

as well as its implementing regulations provided at 24 C.F.R.       § 100 et seq.


VERIFIED COMPLAINT-9
        Case 1:13-cv-00481-EJL-REB Document 1 Filed 11/07/13 Page 10 of 13




                                                   DAMAGES

         39.      Plaintifl reallege each and evely allegation contained in paragraphs I through 38 as if

filly set forth herein.

         40.      As a result of the actions and conduct of Defendants, as described above, Plaintifl

have suffered damages in an amount to be proven at trial

         41.      The Court should award to Plainti1l and against Defendants punitive damages due to

the intentional and wiliflul nature of the Defendants’ conduct in an amount to he determined at triaL

         42.      The Court should enjoin Defendants, their officers, employees, agents, successors and

all other persons in active concert or participation with said I)efCndants, generally, from failing and/or

refusing to comply with all requirements of the FIIA and its implementing regulations and, specifically,

from prohibiting and/or seeking removal of Plaintifl’ refrigerated air conditioning unit as well as

imposing fines, costs, assessments and/or charges on PlaintifI’ related to said refrigerated air

conditioning unit.

         43.      The Court should award Plaintiffi declaratory relief in the form of an order both

permitting Pktthtifi’ refrigerated air conditioning unit to remain as a reasonable modification of the

Subject Property, prohibiting the Board from harassing auidlor intimidating Plaiiniff regarding the

Plaintifl’ refrigerated air-conditioning unit and requiring that all fines, fees, charges and/or assessments

levied against the Plaintiul’ related to the presence of the reliigerated air conditioning unit be rescinded

and prohibiting the finilier Driposition of such fines, fees, charges and/or assessments levied against the

Plaintifl’ related to the presence of the refrigerated air conditioning unit as a reasonable

accommodation;

         44.      The Court should award to Plaintitl and against Defendants reasonable attorney ICes



VERIFIED COMPLAINT- 10
        Case 1:13-cv-00481-EJL-REB Document 1 Filed 11/07/13 Page 11 of 13




and costs incurred in this action, as provided by the Declaration, statute and   Court   rule.

         45.         Defendants should be held jointly and severally liable for any and all damages, including

an award of attorney fees and costs, awarded in this proceeding.

                                                PRAYER FOR RELIEF

         Wherefore Plaintiffi Bernard L. Morgan and Marilyn L. Morgan pray that the Court enter

Judgment against the Defendants as follows:

         A.      That the Court lind and declare that the actions of the Deténdants constitute violations

of the Fair housing Act;

         B.      That the Court award to the Plaintifii and against the Defendants compensatory

damages in the amount to he determined at trial;

         C.      That the Court award to the Plaintifi and against the Delèiidants punitive damages due

to the reckless or callous nature of the Defendants’ conduct in an amount to be determined at trial;

         D.      That the Court enjoin Deléndants, their officers, employees, agents, successors arid all

other persons in active concert or participation with said Defendants, generally, from fluting andlor

refOsing to comply with all requirements of the FHA and its implementing regulations and, specifically,

from harassing and/or intimidating Plaintith regarding the Plaintifl’ refrigerated air-.condilioning unit and

from prohibiting andlor seeking removal of Plaintiffs’ refrigerated air conditioning unit as well as

imposing lines, costs, assessments and/or charges on Plaintifl’ related to said refigerated air

conditk)ning unit;

        F.       ‘Chat the Court grant Plain(itI declaratory relief in the fOrm of an order both permitting

Plaintift’ refrigerated air conditioning unit to remain as a reasonable modification ol the Subject

Property and requiring that all tines, ICes, charges and/or assessments levied against (lie llainiiI1’



VERIFIED COMPLAINT-il
       Case 1:13-cv-00481-EJL-REB Document 1 Filed 11/07/13 Page 12 of 13




related to the presence of the refrigerated air conditioning unit be rescinded and prohibiting the further

Imposition of such lines, fees, charges and/or assessments levied against the Plainti1l’ related to (lie

presence of the refi-igerated air conditioning unit as a reasonable accommodation;

           F.    That the Court award to the Plaintill and against the [)efendanis reasonable attorney

tees and costs incurred in this action;

           G.   That the Detèndants he held jointly and severally liable for any and all damages,

including an award of attorney fees and costs, awarded in this proceeding; and

           H.   That the Court order any further and additional relief as the interests of justce may

require.



                  Cil\.

l)ATEDthis      1    dayof_______________ 2013.

                                                         N AL COLBORN PLLC             /

                                                 By:                          /
                                                                                   C
                                                         James W. (olborn
                                                        / Attorney fOr Plaintiff




VERIFIED COMPLAINT- 12
 Case 1:13-cv-00481-EJL-REB Document 1 Filed 11/07/13 Page 13 of 13




  STATE OF’            <-‘3c            )
  tOtJNTV OF j\[
                 )

  ON TI [IS        D   ay of Nov ioer, 20 3. betere
                                                        me, a Thilaty Public thu tute State
                        e sar a                                                             of
                                                  th L I             owa oi icIer uo to me, woo hi
  nie first duly sworn, declared                            5<                                         g cy
                                 that he is ooe ol the PIaimifs in
  Cornplamt, that he sigoed the foreg                              the above matter, that he has read
                                       &ng istrumertt and that the sta                                the
                                                                         nats therein contained are true.


                                                                                   I   ,   ,

                                                     BSRNARD L jt
                                                                [O.GAN
   5hJ2SCRLdFL) AND SWORN to befo
                                  re ne this                      day f November 2013.
                           -



                                                            N
                                    ,
                                            ,




                                                                       “   /
                               OCCBGRZF’IDA                     ———‘
                                                                    -------
                                                                                   —-—_


                                                     Notai7 tnhc o <e h ate o                  .   —-   -




         H                                           osc g at ‘Ll              /t-A
                                                     Jy CLfl1tflSS!Ofl hxpn-es
                                                                                                             -




                                                                                o--’j              -i;

                                              VEJtIFICATION
 STATE OF

000NTY OF                      c

ON ‘fillS    5       day of Novemher, 2013, hethue me,
                                                          a Natary ?rb1ic for the State of
                       -




   ?/r-te            oorsoeatiy anrearcd Mariiyn L. McJr9mn
me irst duly s’1oi’n. declared that sho                       , known or ideiiitied to me, who hem
                                        s one of the PiantirTs in the above matt                      g by
          t at     cs                                                            er, that she eas read the
                           i a medomi. iso ret
                                                      nd a. 0 stine its oieei u’
                                                                                            I cd a i e
                                                 /                 /
                                                                               7
                                                        -
                                                                                         _a_
                                                            LYNC teoauA                            /
                                                                                                         ‘       -




 SLd3S( ‘I1B Fl) AND SWORN to betbue
                                     me this                     day of Noembcr 20i 3.




                                                 Natty Subh(oufhe State of
               ,
                                                                             -O--
                                                 Resrd ag at        -i
                                                 My COiThfltSSIOfl Fxpices )
                                                                           )
                                                                           137ti,


YERIFIhD COMPLAINT                 13
